         Case 24-90533 Document 1523 Filed in TXSB on 02/22/25 Page 1 of 3
                                                                                               United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                        February 24, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                             Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                  Case No. 24-90533 (ARP)

                                                                   (Jointly Administered)
                                      Debtors.
                                                                   Re Docket Nos.: 846

                        ORDER MODIFYING THE AUTOMATIC STAY

         Upon the motion (the “Motion”) of Nora Perkinson for entry of a final order, pursuant to

section 362(a) of the Bankruptcy Code, modifying the automatic stay as to the above-captioned

debtors and debtors in possession (collectively, the “Debtors”) and Non-Debtor Defendants

(as defined in the Debtors’ Emergency Motion for Entry of Interim and Final Orders to Enforce

the Automatic Stay or in the Alternative Extend the Automatic Stay to Non-Debtor Defendants

[Docket No. 17] (the “Stay Extension Motion”)) in the case styled Perkinson v. Correct Care

Solutions, LLC et al., Case No. 21-CI-00123, in the Commonwealth of Kentucky Oldham Circuit

Court, as more fully described in the Motion; and the Court having jurisdiction to consider the

Motion and the relief requested therein pursuant to 28 U.S.C. § 1334 and the Order of Reference

to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa, C.J.); and the

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157; and the Court having

found that it may enter a final order consistent with Article III of the United States Constitution;

and the Court having found that venue of the chapter 11 cases and related proceedings being proper

in this district pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion


1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11 cases
    is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
       Case 24-90533 Document 1523 Filed in TXSB on 02/22/25 Page 2 of 3




having been provided, such notice having been adequate and appropriate under the circumstances,

and it appearing that no other or further notice need be provided; and the Court having reviewed

and considered the Motion; and the Court having held a hearing, if necessary, to consider the relief

requested in the Motion on a final basis (the “Hearing”); and the Court having determined that the

legal and factual bases set forth in the Motion, and at the Hearing establish just cause for the relief

granted herein; and all objections and reservations of rights filed or asserted in respect of the

Motion, having been withdrawn, resolved, or overruled; and upon all of the proceedings had before

the Court; and after due deliberation and sufficient cause appearing therefor, it is hereby

       ORDERED, ADJUDGED, AND DECREED THAT

       1.      The automatic stay imposed by section 362 of the Bankruptcy Code is lifted in the

Lawsuit so that Nora Perkinson may proceed solely against Wellpath, LLC’s employment

practices liability insurance provided by National Union Fire Insurance Company of Pittsburg, Pa.,

Policy Number 01-923-38-03.

       2.      The automatic stay imposed by section 362(a) of the Bankruptcy Code and

extended to Non-Debtor Defendants in the Lawsuit pursuant to the Amended Final Order

(I) Enforcing the Automatic Stay to Non-Debtor Defendants, and (II) Granting Related Relief

[Docket No. 1480] (the “Final Stay Extension Order”) does not extend to claims or causes of action

against Defendant Kentucky Department of Corrections in the Lawsuit.

       3.      Except as set forth herein, the automatic stay’s application to the Debtor in the

Lawsuit shall remain in full force and effect.

       4.      Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Order is hereby waived, and the terms and conditions of this Order shall be

effective and enforceable immediately upon its entry.


                                                  2
       Case 24-90533 Document 1523 Filed in TXSB on 02/22/25 Page 3 of 3




       5.      The Court shall retain exclusive jurisdiction over any matter arising from or related

to the implementation, interpretation, and enforcement of this Order.

Dated:           , 2025
Signed:
Houston,February
          Texas 22, 2025

                                                 ALFREDO   R. PÉREZ
                                                      _____________________________
                                                 UNITED STATES    BANKRUPTCY JUDGE
                                                      Alfredo R Pérez
                                                      United States Bankruptcy Judge




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